                               UNITED STATE DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

EVERETT CHATTMAN,                                       )
                                                        )
              Plaintiff,                                )
                                                        )       No. 3:08-CV-454
                                                        )       (VARLAN/SHIRLEY)
V.                                                      )
                                                        )
TOHO TENAX AMERICA,                                     )
                                                        )
              Defendant.                                )

                                      PROTECTIVE ORDER


       It is hereby ORDERED that the following provisions shall govern claims of confidentiality

in these proceedings:

              (a)       Review of the confidential documents and information by counsel, experts,

                        or consultants for the litigants in the litigation shall not waive the

                        confidentiality of the documents or objections to production.

              (b)       The inadvertent, unintentional, or in camera disclosure of a confidential

                        document and information shall not generally be deemed a waiver, in whole

                        or in part, of any party's claims of confidentiality.

              (c)       Only documents containing trade secrets, special formulas, company security

                        matters, customer lists, financial data, projected sales data, production data,

                        matters relating to mergers and acquisitions, and data which touch upon the

                        topic of price may be designated confidential, provided such documents have

                        not previously been disclosed by the producing party to anyone except those

                        in its employment or those retained by it. Such documents or parts thereof



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                  will be designated after review by an attorney for the producing party by

                  stamping the word confidential on each page.

            (d)   If any party believes a document not described in the above paragraph should

                  nevertheless be considered confidential, it may make application to the court.

                  Such application shall only be granted for reasons shown and for

                  extraordinary grounds.

            (e)   Documents designated confidential shall be shown only to the attorneys, the

                  parties, parties’ experts, actual or proposed witnesses, and other persons

                  whom the attorneys deem necessary to review the documents for the

                  prosecution or defense of this lawsuit. Each person who is permitted to see

                  confidential documents shall first be advised of this order and shall further be

                  advised of the obligation to honor the confidentiality designation.

            (f)   If a party believes that a document designated or sought to be designated

                  confidential by the producing party does not warrant such designation, the

                  party shall first make a good-faith effort to resolve such a dispute with

                  opposing counsel. In the event that such a dispute cannot be resolved by the

                  parties, either party may apply to the Court for a determination as to whether

                  the designation is appropriate. The burden rests on the party seeking

                  confidentiality to demonstrate that such designation is proper.

            (g)   In filing materials with the Court in pretrial proceedings, counsel shall file

                  under seal only those specific documents and that deposition testimony

                  designated confidential, and only those specific portions of briefs,



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                  applications, and other filings that contain verbatim confidential data, or that

                  set forth the substance of such confidential information.

            (h)   In any application to the Court referred to or permitted by this order, the

                  Court may exercise discretion in determining whether the prevailing party in

                  such a dispute may recover the costs incurred by it and, if so, the amount to

                  be awarded.

            (i)   The parties shall comply with their obligation, set for in Rule 5.2(a) of the

                  Federal Rules of Civil Procedure, to redact portions of Social Security

                  Numbers, dates of birth, financial account numbers, and the names of minors

                  in their filings with this Court. Further, they shall make the same redactions

                  in documents exchanged amongst themselves during discovery.

      IT IS SO ORDERED.

                                                  ENTER:


                                                    s/ C. Clifford Shirley, Jr.
                                                  United States Magistrate Judge




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